Case 1:18-cv-06474-ER Document 31 Filed 08/18/18 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

STATES OF NEW YORK,
CONNECTICUT, NEW JERSEY,
RHODE ISLAND and WASHINGTON,
and COMMONWEALTHS OF
MASSACHUSETTS and VIRGINIA,

Plaintiffs, No. 18-cv-6471 (ER)
Vv.
UNITED STATES DEPARTMENT OF
JUSTICE; and JEFFERSON B.
SESSIONS I, in his official capacity as
Attorney General of the United States,

Defendants.

 

CITY OF NEW YORK
Plaintiff,
V.

JEFFERSON B. SESSIONS III, in his No. 18-cv-6474 (ER)
official capacity as Attorney General of
the United States of America, and the
UNITED STATES DEPARTMENT OF
JUSTICE,

Defendants.

 

 
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

STATES OF NEW YORK,
CONNECTICUT, NEW JERSEY,
WASHINGTON, and
COMMONWEALTHS OF
MASSACHUSSETTS and VIRGINIA,

Plaintiffs, CIVIL ACTION NO. 1:18-cy-06471

v.
U.S. DEPARTMENT OF JUSTICE;
and JEFFERSON B. SESSIONS, IL,
in his official capacity as Attorney

General of the United States,

Defendants.

 

 

DECLARATION OF CHIA-CHIA WANG

Pursuant to 28 U.S.C. § 1746, I, Chia-Chia Wang, hereby declare:

1. Iam over the age of eighteen and understand the obligations of an oath.

2. I make this affidavit based on personal knowledge. My name is Chia-Chia Wang. I am
the Organizing and Advocacy Director for the American Friends Service Committee (“AFSC”)
Immigrant Rights Program in Newark, New Jersey.

3. [have worked for AFSC and with the immigrant communities in New Jersey for thirteen
years,

4. AFSC is a Quaker organization based in Philadelphia that works toward peace
worldwide. AFSC’s Immigrant Rights Program started in the early 1990s supporting immigrants
fleeing Central American countries. It has now grown to nearly 20 staff members and serves

thousands of immigrants in New Jersey yearly. We work to advocate for local, state and federal
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policy change and are the leading pro-bono legal service provider to immigrants in the state of
New Jersey.

5. During my time working at AFSC and in New Jersey, I have heard countless immigrants
share their concern about approaching government agencies for services, and how they avoid
reporting crimes or collaborating with local law enforcement agencies because they fear that
their information will be shared with Immigration and Customs Enforcement (“ICE”) and that
they will be asked for immigration papers and handed over to ICE if they fail to produce them.

6. As one of the leading providers of legal services to immigrant survivors of domestic
violence, we are aware of cases where domestic violence victims endure years of abuse because
of such fear.

7. One of our clients endured 6 years of violence from her partner until he put a knife on her
neck and she finally called the police. She had not called prior to that because she was afraid of
being turned over to ICE.

8. Recently I heard community members who may have witnessed or heard about
heightened immigration enforcement in the media express serious and increased concerns in
approaching government agencies.

9. In fact, Hudson County Prosecutor Ester Suarez has publicly stated that immigrants are
not reporting crimes, but assured the mostly immigrant audience that her office is ready to help
and will not report immigrants who report crime to ICE.!

10. A recent report in May 2017 revealed that “78 percent of advocates reported that

immigrant survivors expressed concerns about contacting police,” and “43 percent of advocates

 

' Immigration Clinic, St. Anthony of Padua Church, Union City, July 19, 2018.
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worked with immigrant survivors who dropped civil or criminal cases because they were fearful
to continue with their cases.”

11. An even more recent survey in New Jersey revealed that since January 2017 “Nearly 4
out of 5 (78.9%) of providers of services to survivors of domestic violence surveyed reported a
decrease in immigrants who sought help,” and “73.3% report clients who are afraid to contact the
police due to fear of ICE.”

12. In my role as Organizing and Advocacy Director of the Immigrant Rights Program | have
helped draft several local and state level policies that would limit collaboration between law
enforcement and immigration enforcement precisely because there is significant evidence that
immigrants are less likely to report crime if local law enforcement agencies or local government
agencies are involved in immigration enforcement.

13. The American Friends Service Committee firmly believes that local and state law
enforcement agencies should not collaborate with federal immigration agencies in identifying,
notifying, transporting, and detaining immigrants, or assisting in immigration deportation in any

way.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

 

Executed on: July ook © LS fo Lay KF,

CHIA-CHIA WANG A -

 

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